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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

In re:                                          §   Chapter 15
                                                §
MtGox Co., Ltd. (a/k/a MtGox KK)                §   Case No. 14-31229-sgj-15
                                                §
         Debtor in a Foreign Proceeding         §
                                                §


 ORDER REGARDING MOTION FOR SETTING AND REQUEST FOR EXPEDITED
 HEARING ON CREDITORS GREGORY GREENE AND JOSEPH LACK’S MOTION
   FOR AN ORDER PURSUANT TO BANKRUPTCY RULE 2004 COMPELLING
   DEPOSITION TESTIMONY IN THE UNITED STATES FROM THE FOREIGN
                        REPRESENTATIVE

       The request for an expedited hearing on Creditors Gregory Greene and Joseph Lack’s
Motion for an Order Pursuant to Bankruptcy Rule 2004 Compelling Deposition Testimony in the
United States From the Foreign Representative is GRANTED/DENIED.

        ____ A hearing will be held before the Honorable Stacey G. Jernigan, 1100 Commerce
Street, Room 1421, Dallas, Texas, on Tuesday, April 1, 2014 at 1:30 p.m. Counsel for Gregory
Greene shall serve this Order on interested parties.

         ____   No expedited hearing will be scheduled.

                                  # # # END OF ORDER # # #
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